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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE



In re:                                                    Chapter 11

BOY SCOUTS OF AMERICA AND                                 Case No. 20-10343 (___)
DELAWARE BSA, LLC,1
                                                          Joint Administration Pending
                          Debtors.

BOY SCOUTS OF AMERICA,

                          Plaintiff,                      Adv. Pro. No. 20-_____ (___)

           v.

A.A., et al.,2

                          Defendants.


                    DOCUMENT TO BE KEPT UNDER SEAL
            ADVERSARY VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF




1
         The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax
         identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311).
         The Debtors’ mailing address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
2
         A full list of the Defendants in this adversary proceeding is included in redacted form on Exhibit A
         attached hereto to protect the privacy interests of abuse victims. An unredacted version of this Complaint
         and Exhibit A hereto will be served on each Defendant’s counsel.
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                                    PROPOSED COUNSEL TO THE DEBTORS
                                    AND DEBTORS IN POSSESSION



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